                   IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS


IN RE:
      Ashley Marie Mack

                       Debtor                    Case No: 15-20630-13


                CHAPTER 13 TRUSTEE'S MOTION TO DISMISS CASE


    COMES NOW the Chapter 13 Trustee, W.H. Griffin, and hereby requests the Court enter
an Order Dismissing the above captioned case without prejudice, and in support states and
alleges the following:

    The Debtor has failed to maintain payments as required under 11 U.S.C. Section 1326. The
Trustee calculates the current default amount as $264.37 through February 2017. If the Debtor
has obtained new employment the Trustee requests the Debtor provide his or her employer
information to the Trustee’s office so a Wage Order may be generated and filed.


   If payments are not received by the 30th of each month, the Trustee requests an Order
permitting dismissal of the case without further notice or hearing.

    WHEREFORE, the Trustee moves the Court for an Order dismissing the above captioned
case without prejudice as provided in 11 U.S.C. Section 1307(c).

          Dated: March 27, 2017



                                               s/ W.H. Griffin, Chapter 13 Trustee
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